                            Case 8-18-78239-las                    Doc 25            Filed 12/20/18            Entered 12/20/18 13:40:36


Fill in this information to identify your case:

                    JULIA                                                      ROSALES
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of New
                                                      District     York
                      18-78229
 Case number         ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing


          106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔      Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1    DEUTSCHE BANK                                                                                                             795,029.76           322,400.00          472,629
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name
                                                           78 ORMONDE BLVD, VALLEY STREAM
       345 PARK AVE
      ______________________________________               N.Y. 11580
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
       NEW YORK                      NY 10154                   Unliquidated
      ______________________________________
      City                          State   ZIP Code        ✔   Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   ✔    Debtor 1 only                                       ✔   An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
                           11/16/06                                                                2776
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________


   fficial Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of ___
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                JULIA                                                   ROSALES                                                 18-78229
Debtor 1         _______________________________________________________                               Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                             Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                    Do not deduct the
             by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________                Contingent
   City                         State    ZIP Code        Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                         Contingent
   ______________________________________                Unliquidated
   City                         State    ZIP Code
                                                         Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
      Debtor 1 only
                                                         An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________                Contingent
   City                         State    ZIP Code        Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:                                                                                  $_________________

                                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
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Debtor 1
             JULIA                                         ROSALES
              _______________________________________________________
                                                                                                                    18-78229
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name
                                                                                                                            2776
                                                                                           Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



                                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___ of ___
